 USDC IN/ND case 3:19-cr-00046-JD-MGG document 1 filed 06/12/19 page 1 of 3


                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF INDIANA
                       SOUTH BEND DIVISION


UNITED STATES OF AMERICA             )    INDICTMENT
                                     )    (Two Counts)
                                     )
           v.                        )    Case Number:
                                     )
                                     )
JOSHUA RAY                           )    18 U.S.C. § 922(0)
                                                                               ii,.r-c;t//,t-~

                                                                               {ff:JW,J$.fr./il
                                                                         N
                                                                               u
                                                                         -0
                                                                         ::x   rr;
                                                                         ..
                                                                         N
THE GRAND JURY CHARGES

                                    COUNT 1

      On or between October 14, 2017 through and including May 7, 2019, in

the Northern District of Indiana,

                               JOSHUA RAY,

defendant herein, did knowingly possess a machinegun.

     All in violation of Title 18, United States Code, Section 922(0).
 USDC IN/ND case 3:19-cr-00046-JD-MGG document 1 filed 06/12/19 page 2 of 3


THE GRAND JURY FURTHER CHARGES

                                    COUNT2

      On or between October 14, 2017 through and including May 7, 2019, in

the Northern District of Indiana,

                                JOSHUA RAY,

defendant herein, did knowingly transfer a mach.inegun.

      All in violation of Title 18, United States Code, Section 922(0).




                                        2
 USDC IN/ND case 3:19-cr-00046-JD-MGG document 1 filed 06/12/19 page 3 of 3


                       FORFEITURE ALLEGATION

      The allegations contained in Counts 1 and 2 of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging

forfeitures pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 246l(c).

      Upon conviction of the bffense in Counts 1 and 2 of this Indictment,

defendant JOSHUA RAY shall forfeit to the United States pursuant to

18 U.S.C. § 924(d) and 28 U.S.C. § 246l(c) any and all firearms and

ammunition involved in the commission of the offense(s), including but not

limited to the following:

   1. Glock auto sears.

Dated: June 12, 2019
                                           A TRUE BILL:

                                           s/ Foreperson

                                           Grand Jury Foreperson

APPROVED BY:

      THOMAS L. KIRSCH II
      UNITED STATES ATTORNEY


       s/ Kimberly L. Schultz
By:
      Kimberly L. Schultz
      Assistant United States Attorney
      United States Attorney's Office
      204 S. Main Street, Room M0l
      South Bend, IN 46601
      57 4-236-8287
      Kimberly.Schultz@usdoj.gov

                                       3
